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8
                          UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     PATRICK LEDDY,                   ) Case No. 2:11-CV-01104-KJM-GGH
11                                    )
     Plaintiff,                       ) NOTICE OF VOLUNTARY
12
                                      ) DISMISSAL WITH PREJUDICE
13          vs.                       )
                                      )
14
     PORTFOLIO RECOVERY               )
15   ASSOCIATES, LLC,                 )
                                      )
16
     Defendant.                       )
17                                    )
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of Civil
18

19   Procedure 41(a)(1), hereby voluntarily dismisses the entire case with prejudice.
20
     Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
21
     judgment. Accordingly, this matter may be dismissed with prejudice and without an
22

23   Order of the Court.
24         RESPECTFULLY SUBMITTED this 26th day of July, 2011.
25
                                By:    s/Todd M. Friedman
26                                     Todd M. Friedman, Esq.
27                                     Law Offices of Todd M. Friedman, P.C.
                                       Attorney for Plaintiff
28




                                          Notice of Dismissal - 1
           Case 2:11-cv-01104-KJM-GGH Document 8 Filed 07/26/11 Page 2 of 2


1    Filed electronically on this 26th day of July, 2011, with:
2
     United States District Court CM/ECF system
3

4
     And hereby served upon all parties

5    Notification sent on this 26th day of July, 2011, via the ECF system to:
6
     Honorable Kimberly J. Mueller
7    Judge of the United States District Court
8
     Eastern District of California

9    Copy sent via mail on this 26th day of July, 2011, to:
10
     Adrienne Rowberry
11   Litigation Counsel
     140 Corporate Boulevard
12
     Office of General Counsel
13   Norfolk, VA 23502
14

15   By: s/Todd M. Friedman
         Todd M. Friedman
16

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                                           Notice of Dismissal - 2
